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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                        EASTERN DIVISION

BOND PHARMACY, INC., d/b/a AIS
HEALTHCARE,
                                            Case No. ____________________
      Plaintiff-Counter Defendant,
                                            (E.D. Va. Case No. 1:22-cv-01343-
v.                                          CMH-IDD)
                                            (Hon. Claude M. Hilton)
ANTHEM HEALTH PLANS OF
VIRGINIA, INC., d/b/a ANTHEM                PLAINTIFF’S EXPEDITED MOTION
BLUE CROSS AND BLUE SHIELD,                 FOR AN ORDER COMPELLING
                                            PRODUCTION OF DOCUMENTS
      Defendant-Counterclaimant.            AND TESTIMONY


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    PLAINTIFF’S EXPEDITED MOTION FOR AN ORDER COMPELLING
           PRODUCTION OF DOCUMENTS AND TESTIMONY

        Pursuant to Federal Rule of Civil Procedure 37(a)(2) and Local Rule 7.1,

and for the reasons set forth in its memorandum in support of this motion, Bond

Pharmacy Inc., d/b/a AIS Healthcare (“AIS”), moves this Court to compel

production of documents and deposition testimony pursuant to the subpoena duces

tecum served on non-party the Health Law Partners, P.C. (“HLP”), on July 14,

2023, in the underlying action styled, Bond Pharmacy, Inc. d/b/a AIS Healthcare v.

Anthem Health Plans of Virginia d/b/a Anthem Blue Cross and Blue Shield, Case

No. 1:22-cv-01343-CMH-IDD (E.D. Va.) (the “EDVA Action”).1

        As required by Local Rule 7.1(a), AIS requested a conference with HLP to

explain the nature of the motion, its legal basis, and attempted to narrow the areas

of disagreement. The conference was held on September 11, 2023, wherein AIS


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 AIS also subpoenaed HLP’s New York affiliate, The Dresevic, Iwrey, Kalmowitz & Pendleton
Law Group, A Division of Health Law Partners, P.C. HLP accepted service of both subpoenas
and agreed that its corporate designee would testify on behalf of both entities.

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requested, but did not obtain, concurrence in the relief sought. Given the close of

discovery in the underlying action, AIS must file this motion today.

      Dated: September 11, 2023

                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 11, 2023, I served via email and UPS a

true and correct copy of the foregoing document on all counsel of record:

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                        EASTERN DIVISION

BOND PHARMACY, INC., d/b/a AIS
HEALTHCARE,
                                        Case No. ____________________
      Plaintiff-Counter Defendant,
                                        (E.D. Va. Case No. 1:22-cv-01343-
v.                                      CMH-IDD)
                                        (Hon. Claude M. Hilton)
ANTHEM HEALTH PLANS OF
VIRGINIA, INC., d/b/a ANTHEM            PLAINTIFF’S EXPEDITED MOTION
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MEMORANDUM IN SUPPORT OF PLAINTIFF’S EXPEDITED MOTION
FOR AN ORDER COMPELLING PRODUCTION OF DOCUMENTS AND
                     TESTIMONY
Case 2:23-mc-51368-LVP-DRG ECF No. 3, PageID.392 Filed 09/11/23 Page 7 of 28




                         STATEMENT OF THE ISSUE

      Whether the Court should compel non-party The Health Law Partners, P.C.

(“HLP”), to comply with a properly issued and valid subpoena from the United

States District Court for the Eastern District of Virginia and produce relevant non-

privileged documents and testimony after it refused to provide a competent witness

and withheld documents and testimony based on facially improper objections.

      ANSWER: Yes.




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        CONTROLLING OR MOST APPROPRIATE AUTHORITY

Cases

In re Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 294 (6th
Cir. 2002).

In re Grand Jury Investigation No. 83-2-35, 723 F.2d 447 (6th Cir. 1983).

Upjohn Co. v. United States, 449 U.S. 383, 395 (1981).

Court Rules

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Fed. R. Civ. P. 37

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                                 INTRODUCTION

       AIS brings this motion to compel non-party the Health Law Partners, P.C.

(“HLP”), to comply with its basic discovery obligations and produce relevant, non-

privileged documents and testimony sought pursuant to a proper Rule 45 subpoena

from the United States District Court for the Eastern District of Virginia.

       As part of litigation pending in the Eastern District of Virginia, Bond

Pharmacy, Inc., d/b/a AIS Healthcare (“AIS”) served a subpoena on HLP seeking

documents and testimony related to its campaign to convince healthcare payors,

including Defendant Anthem Health Plans of Virginia, d/b/a Anthem Blue Cross

And Blue Shield (“Anthem”), to investigate AIS and breach its payment

obligations to it.

       In response, HLP has stonewalled compliance, and obstructed AIS’s proper

discovery efforts. Based on specious objections, HLP thus refused to produce

relevant, non-privileged documents in its possession and competent and complete

testimony.

       Accordingly, AIS must now seek the Court’s assistance to enforce the

Eastern District of Virginia subpoena. It therefore requests this Court to order

HLP to produce both a competent corporate designee for deposition as well as the

relevant non-privileged documents and testimony it has improperly withheld.




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Also, this Court should sanction HLP and award AIS its fees and costs in

connection with bringing this matter before the Court.

                                 BACKGROUND

                    AIS Sues Anthem In Virginia Federal Court

      AIS is an accredited compounding pharmacy and leading provider of home

infusion therapy services. Complaint (“Cmplt.”) ¶ 1, Exhibit (“Ex.”) 1. These

services allow patients suffering severe conditions, such as multiple sclerosis and

cancer, to receive custom medications through surgically-implanted intrathecal

pumps that deliver targeted relief daily. Id. Home infusion therapy carries

significant benefits for patients and payors. It allows patients to receive necessary

pain relief without the devastating side effects of oral opioids while going about

their daily lives. And home infusion therapy is substantially less costly than

alternative inpatient care.

      AIS sued Anthem, one of the largest healthcare insurance companies in the

world, in the U.S. District Court for the Eastern District of Virginia (the “EDVA

Action”), to obtain redress for Anthem’s wrongful refusal to pay AIS for the vital

care it provided Anthem’s members under the parties’ provider agreement. See

generally, id. The EDVA Action remains ongoing, and the parties are nearing

completion of discovery. See Ex. 2. Fact discovery closes in the EDVA Action on

September 12, 2023. See id.



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      During discovery, AIS discovered emails between Anthem and HLP, a law

firm based in Michigan. Those communications showed that HLP contacted

Anthem on multiple occasions, purportedly on behalf of certain clients, to

encourage Anthem to investigation and audit AIS’s provider claims and billing

practices and deny its properly submitted claims. See HLP Production, Ex. 3.

HLP made sweeping and unsubstantiated allegations that AIS engaged in billing

fraud and accused AIS of violating various laws, regulations, and standards, as

well as AIS’s confidential provider agreement with Anthem, based on information

it supposedly had “seen and heard.” Id. at 2. After receiving these

communications, Anthem started to investigate AIS and refused to pay it for

services provided to Anthem members.

          HLP Refuses To Comply With The Eastern District Subpoena

      After discovering HLP’s role in the events underlying its lawsuit against

Anthem, AIS issued a subpoena from the Eastern District of Virginia for non-

privileged documents and testimony. See Subpoena, Ex. 4.1 AIS requested non-

privileged information related to communications between HLP and third-parties

concerning AIS, its services, billing practices, and claims. Id. at Attachment A.

AIS also sought information concerning HLP’s involvement in any investigation,


1
  AIS also subpoenaed HLP’s New York affiliate, The Dresevic, Iwrey, Kalmowitz & Pendleton
Law Group, A Division of Health Law Partners, P.C. HLP accepted service of both subpoenas
and agreed that its corporate designee would testify on behalf of both entities.


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audit, or litigation against AIS by a third party, including Anthem. Id. This

information is highly relevant to AIS’s claims in the EDVA Action as it bears

directly on the purported basis for Anthem’s bogus investigation of AIS and the

use of it as a means to deny AIS contractually-owed payments. Cmplt. ¶¶ 76-83,

94, 96, 107, 122 & 126.

      In response to AIS’s subpoena, HLP produced fewer than 20 documents. Its

production failed to include obviously relevant materials such as engagement

letters and documents received from third parties about AIS. Ex. 3. Despite

HLP’s assertion that privilege permitted it to withhold other relevant documents,

Deposition Transcript of Robert Dindoffer (“Tr.”) at 80:25-81:4 & 40:1-41:5, Ex.

5, it failed to produce a privilege log. The parties then scheduled a deposition of

HLP’s corporate representative, Robert Dindoffer, for September 1, 2023, in

advance of the EDVA Action’s September 12, 2023, discovery cut-off.

      At deposition, HLP proffered a woefully unprepared and belligerent 30(b)(6)

witness who refused to answer questions based on improper objections, and

engaged in other obstructionist and unprofessional conduct.

      HLP failed to produce a competent 30(b)(6) witness to testify on the nine

topics noticed in AIS’s subpoena. See Ex. 4. Despite testifying that he was

prepared to address each of AIS’s deposition topics, Mr. Dindoffer could not

answer numerous questions related to the topics. See Ex. 5. Mr. Dindoffer:


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          Could not recall how HLP received contact information for Anthem
           employees (Topics 6 & 7), Tr. at 49:18-50:6;

          Could not recall how HLP obtained a copy of AIS’s confidential
           provider agreement with Anthem (Topics 4 & 5), id. at 71:19-74:6;

          Could not recall the substance or extent of HLP’s communications
           with Blue Cross Blue Shield of Michigan regarding AIS (Topic 6 &
           7), id. at 99:9-101:7;

          Could not recall the substance or extent of HLP’s communications
           with Anthem regarding AIS (Topics 6 & 7), id. at 101:20-25; and

          Could not recall the insurers other than Anthem and Blue Cross Blue
           Shield of Michigan with whom HLP discussed AIS (Topics 6 & 7), id.
           at 120:4-15.

      Mr. Dindoffer also could not answer questions seeking information related

to the documents memorializing communications he prepared and sent Anthem.

See id. at 78:13-79:11 & 88:13-89:3.

      During Mr. Dindoffer’s deposition, HLP’s counsel (an HLP partner

himself), directed Mr. Dindoffer not to answer valid questions based on frivolous

objections. For example, HLP:

          Refused to identify any of HLP’s “specialty pharmacy clients,” which
           it referenced in its production and correspondence to Anthem, Tr. at
           31:17-34:14;

          Refused to testify about whether certain AIS competitors were clients
           of HLP, id. at 34:23-35:9; 36:6-20; 36:24-37:12;

          Refused to answer whether “Anthem has retained HLP as counsel,”
           id. at 38:21-39:4;



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          Refused to testify whether any insurance companies or commercial
           payors were clients of HLP, id. at 37:22-38:25;

          Refused to identify any clients HLP is currently representing,
           specifically clients that are home infusion therapy providers, id. at
           38:17-20;

          Refused to testify about how HLP “c[a]me to learn” of AIS, id. at
           41:11-17;

          Refused to testify whether HLP “learn[ed] of AIS from a current or
           former AIS employee,” id. at 43:4-44:18;

          Refused to answer “whether any current or former AIS employees are
           a client of HLP,” id. at 43:20-25;

          Refused to testify regarding whether HLP ever conducted an
           independent investigation of AIS, id. at 45:1-12;

          Refused to testify whether “a third party,” other than a client, raised
           compliance concerns related to AIS with HLP, id. at 53:7-15; 55:10-
           22;

          Refused to describe documentation referenced in an email that HLP
           sent to Anthem (and that Mr. Dindoffer in fact authored), id. at 63:1-
           64:18 (stating “I’m not answering with respect to anything that is
           outside of the email”);

          Refused to testify regarding how HLP obtained the Provider
           Agreement between AIS and Anthem, including whether HLP
           “obtain[ed] the Anthem provider agreement from a party other than a
           client,” id. at 67:11-68:14;

          Refused to testify about how HLP became familiar with Anthem’s
           claim coverage standards, id. at 69:6-70:7;

          Refused to testify regarding HLP’s access to explanation of benefits
           claim documents, which were referenced in HLP’s email to Anthem,
           id. at 75:2-77:5;


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          Refused to testify regarding any information related to HLP’s emails
           to Anthem personnel, id. at 62:14-64:18; 77:7-78:8; 113:12-115:5;

          Refused to testify regarding the “specific information or evidence”
           HLP had to “support its claims in [its] email” to Anthem about AIS’s
           billing practices, id. at 82:12-84:2;

          Refused to identify the clients on behalf of whom HLP submitted its
           compliance complaints to Anthem, id. at 96:18-97:18; 107:17-109:4;
           and

          Refused to testify regarding why HLP submitted complaints to
           Anthem’s Empire Blue entity, id. at 112:11-23.

      HLP also testified at deposition that it did not produce responsive

documents, such as engagement letters of the clients it referenced in its

correspondence to Anthem regarding AIS on the basis of privilege. Id. at

39:6-41:7; Ex. 4 at Attachment B. At the same time, HLP failed to produce a

privilege log identifying a single relevant document it had withheld.

      HLP further impended AIS’s discovery efforts with dubious antics. Instead

of answering AIS’s questions or stating its objections on the record, Mr. Dindoffer

and HLP’s counsel, Clinton Mikel:

          Repeatedly argued with and interrupted AIS’s counsel, id. at 33:7-13;
           71:5-15;

          Mocked AIS’s counsel’s questions rather than answering them, id. at
           46: 12-21; 47:12-18; 61:22-25; 91:1-22; and

          Called AIS’s counsel “man,” despite AIS’s counsel’s repeated
           requests to be called by his name, and mocked counsel’s preferred


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               pronoun, id. at 47:12-17 52:11-25; 90:20-25; 91:1-22; 95:12-13;
               116:6.

       HLP and Mr. Mikel’s behavior severely impeded AIS’s proper discovery

efforts.

       AIS has incurred approximately $40,000 in attorney’s fees and costs to

prepare the subpoena to HLP, meet and confer with HLP, prepare for and take the

deposition of HLP’s corporate representative, and prepare this motion.2

                                          STANDARD

       The Federal Rules of Civil Procedure authorize “extremely broad”

discovery. United States v. Leggett & Platt, Inc., 542 F.2d 655, 657 (6th Cir.

1976); see also CH Holding Co. v. Miller Parking Co., 2013 WL 4516382, at *2

(E.D. Mich. 2013). A party is thus entitled to discovery “on any matter that is not

privileged and is relevant to any party’s claim or defense if it is reasonably

calculated to lead to the discovery of admissible evidence.” Miller Parking, 2013

WL 4516382, at *2; Fed. R. Civ. P. 26(b)(1). Evidence is relevant if it has “any

tendency to make the existence of any fact that is of consequence to the

determination of the action more probable or less probable than it would be

without the evidence.” Miller Parking, 2013 WL 4516382, at *2 (emphasis

added). In applying the discovery rules, relevance should be “broadly and liberally


2
  AIS will provide invoices for its attorney’s fees and costs associated with this matter in
redacted form or for an in camera review based on the Court’s orders.


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construed.” Tocco v. Tocco, 2006 WL 8431950, at *1 (E.D. Mich. 2006). And

under Rule 30(b)(6), a corporation must make a good faith effort to put forth a

witness who has knowledge of the matters sought and prepare the witness to

“answer fully, completely, and unevasively.” Cont’l Auto. Sys. US, Inc. v.

Schrader Elecs., Inc., 2014 WL 12659421, at *4 (E.D. Mich. 2014).

      These rules of discovery apply with equal force to non-party witnesses who,

under Rule 45, are directed to produce relevant documents and testify at

deposition. See Operating Engineers Loc. 324 Health Care Plan v. Mid Michigan

Crushing & Recycling LLC, 2011 WL 1464851, at *2 (E.D. Mich. 2011); Fed. R.

Civ. P. 45(a)(1)(A)(iii). Where a non-party refuses to meet its discovery

obligations, a motion to compel should be brought in the court where the discovery

is or will be taken. Fed. R. Civ. P. 37(a)(2); see Seattle Times Co. v. LeatherCare,

Inc., 232 F. Supp. 3d 959 (E.D. Mich. 2017). And a court should grant a motion to

compel where a non-party offers a 30(b)(6) witness that is evasive or unprepared,

fails to produce relevant non-privileged documents, or otherwise fails to meet their

discovery obligations. See William Beaumont Hosp. v. Medtronic, Inc., 2010 WL

2534207, at *8-9 (E.D. Mich. 2010); Datatrak Int’l, Inc. v. Medidata Sols., Inc.,

2015 WL 12734894, at *5 (N.D. Ohio 2015). A court should further award the

moving party its attorney’s fees and costs in preparing the motion to compel. See

Medtronic, 2010 WL 2534207, at *8-9; Waskul v. Washtenaw Cnty. Cmty. Mental


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Health, 569 F. Supp. 3d 626, 639-40 (E.D. Mich. 2021). Applying these rules, the

Court should order HLP fully and promptly to comply with the subpoena and

award fees and costs to AIS based on HLP’s discovery misconduct.

                                   ARGUMENT

  I.   The Court Should Order HLP To Produce A Competent Corporate
       Designee.

       Under Rule 30(b)(6), HLP was required to provide a competent witness to

testify on the topics identified in the Eastern District subpoena and notice of

deposition. See Schrader, 2014 WL 12659421, at *4. That means HLP’s designee

was required to have “knowledge of the matters sought” and “answer fully,

completely, and unevasively.” Id. But HLP refused to put forth a competent

witness for questioning. Despite testifying that he was prepared to address AIS’s

nine deposition topics, Mr. Dindoffer, could not (or would not) answer many

straightforward and relevant questions bearing directly on AIS’s identified topics.

Tr. at 21:16-24:23; Ex. 4; supra at 4-5.

       Instead, Mr. Dindoffer refused to answer questions that sought any

information outside of the specific text of the documents HLP produced. Tr. at

78:13-79:11. For example, Mr. Dindoffer testified that he could not recall which

insurance payors (other than Anthem) HLP had contacted about AIS. Id. at

120:4-15. Mr. Dindoffer similarly asserted he could not answer questions because

they involved the “intent” of HLP, even though he appeared on HLP’s behalf and


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authored the emails to Anthem that were at issue and that HLP produced. Id. at

88:13-89:3.

      Ultimately, HLP did not provide a 30(b)(6) witness who had “knowledge of

the matters sought” and who could “answer fully, completely, and unevasively.”

Schrader, 2014 WL 12659421, at *4. The Court should therefore order HLP to

provide a corporate designee who is prepared to testify on the noticed deposition

topics and will testify fully on such topics. See Id.

  II. The Court Should Order HLP To Produce Non-Privileged Testimony
      And Documents.

      In addition to refusing to provide a competent corporate designee, HLP

repeatedly refused to answer AIS’s questions based on meritless privilege

assertions. See supra at 4-5. HLP refused to identity its clients, the factual basis

for HLP’s knowledge about AIS and its billing practices, and the substance of

communications between HLP and parties that are not its clients, including

Anthem. None of these communications is privileged, a point that AIS’s counsel

explained by citing controlling precedent at deposition. Tr. at 31:17-33-6.

      First, the identity of HLP’s clients is not privileged. See In re Grand Jury

Investigation No. 83-2-35, 723 F.2d 447, 451 (6th Cir. 1983) (“The federal forum

is unanimously in accord with the general rule that the identity of a client is, with

limited exceptions, not within the protective ambit of the attorney-client

privilege.”); Prudential Def. Sols., Inc. v. Graham, 517 F. Supp. 3d 696, 704 (E.D.


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Mich. 2021) (“In general, the fact of legal consultation or employment, clients’

identities, attorney’s fees, and the scope and nature of employment are not deemed

privileged”); Warnaco, Inc. v. Freund, 94 F.R.D. 237, 238 (E.D.N.Y. 1980)

(denying motion to quash and ordering attorney to testify at deposition regarding

identity of client); Hamilton v. Rubin, 2006 WL 1751901 at *3 (Mich. Ct. App.

2006) (“The identity of a client is not privileged unless disclosure would reveal the

substance of confidential communications”); Bergano v. City of Virginia Beach,

296 Va. 403, 409 (2018) (“The identity of the client, the amount of the fee, the

identification of payment by case file name, and the general purpose of the work

performed are usually not protected from disclosure by the attorney-client

privilege.”).3 HLP must therefore identity its clients.

       Second, the attorney-client privilege does not protect the factual basis for

HLP’s knowledge of AIS and its billing practices. See Upjohn Co. v. United

States, 449 U.S. 383, 395 (1981); Reed Dairy Farm v. Consumers Power Co., 227



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  Federal courts have recognized limited exceptions to this general rule, none of which apply.
See In re Grand Jury, 723 F.2d at 451. The legal advice exception does not apply because
revealing the identity of HLP’s clients will not implicate its clients in a criminal offense on
account of which HLP was retained. See id. Nor does the last link exception apply because
revealing the identity of HLP’s clients will not provide the last link in a chain of incriminating
evidence or lead to its client’s indictment. See id. And the Harvey exception does not apply
because identifying HLP’s clients will not disclose confidential communications. See id.
Indeed, HLP voluntarily disclosed the substance of its communications with its clients to
Anthem (and potentially other third-parties). Ex. 3. Accordingly, the Harvey exception does not
apply. See Owen v. Birmingham Fed. Sav. & Loan Ass’n, 27 Mich. App. 148, 163-64 (1970); In
re Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 294 (6th Cir. 2002).


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Mich. App. 614, 619-20 (1998) (“The United States Supreme Court . . . [has]

determined that the attorney-client privilege is limited to communications between

employee and counsel, not facts.”) (emphasis in original); Bergano, 296 Va. 403 at

409 (“The attorney-client privilege protects confidential communications.”)

(emphasis added). Thus, HLP must disclose “any relevant fact within [its]

knowledge even if it incorporated a statement of that fact into a communication.”

Reed Dairy, 227 Mich. App. at 620. Its refusal to do so is improper and without

basis. Supra at 4-5.

      Third, the attorney-client privilege does not bar disclosure of

communications between HLP and third-parties that are not its clients. The

“attorney-client privilege exists to protect confidential communications between a

lawyer and his client.” In re Grand Jury, 723 F.2d at 451 (emphasis added). But

the privilege is waived where the communication is voluntarily made – or intended

to be made – in the presence of a third party. See Owen, 27 Mich. App. at 163-64;

Morales v. Portuondo, 154 F. Supp. 2d 706, 730 (S.D.N.Y. 2001). Thus, HLP

cannot assert privilege over communications that its client requested it disclose to

third parties like Anthem. See Owen, 27 Mich. App. at 163-64; In re

Columbia/HCA, 293 F.3d at 294 (6th Cir. 2002) (“A client may waive the privilege

by conduct which implies a waiver of the privilege or a consent to disclosure.”);

see supra at 4-5; Ex. 3. Nevertheless, HLP refused to answer questions regarding


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the substance of its communications with Anthem and other third-parties. Tr. at

37:25-38.

       Further, to the extent HLP has withheld documents, including but not limited

to its engagement letters and other non-privileged communications and information

related to its communications with Anthem, those documents are not privileged

either for the same reasons. Supra at 5; see Graham, 517 F. Supp. 3d at 704; Reed

Dairy, 227 Mich. App. at 619-20. Accordingly, the Court should direct HLP to

produce relevant non-privileged documents and information as well. See Graham,

517 F. Supp. 3d at 704; Reed Dairy, 227 Mich. App. at 619-20.

III.   The Court Should Sanction HLP For Its Discovery Misconduct And
       Award AIS Its Attorney’s Fees And Costs.

       The Court should further sanction HLP for its willful refusal to comply with

the Eastern District subpoena and award AIS its fees and costs. Sanctions are

appropriate where a non-party refuses to comply with the rules of discovery or

“impedes, delays, or frustrates the fair examination of the deponent.” Fed. R. Civ.

P. 30(d)(2) & Fed. R. Civ. P. 37(a)(5)(A). Here, HLP has no justification for its

failure to produce a competent corporate representative, its baseless assertions of

privilege, and its unprofessional conduct at deposition. See Medtronic, 2010 WL

2534207, at *9 (granting motion for sanctions where “[n]either Defendant’s lack of

preparation . . . nor its broad assertion of attorney-client privilege . . . was

substantially justified.”); Waskul, 569 F. Supp. 3d at 639 (finding sanctions


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“warranted because of [the party’s] stubborn and meritless insistence that [it] need

not produce” discovery). Indeed, HLP’s conduct at deposition shows HLP

deliberately acted to “impede” AIS’s ability to take a “fair” deposition. See Fed.

R. Civ. P. 30(d)(2). HLP should be sanctioned for its conduct, which frustrated

AIS’s discovery efforts and needlessly increased its time and expense to obtain

proper discovery. See Waskul, 569 F. Supp. 3d at 639; supra at 5-6.

                                 CONCLUSION

The Court should grant AIS’s motion and award it fees and costs.



      Dated: September 11, 2023

                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 11, 2023, I served via email and UPS a

true and correct copy of the foregoing document on all counsel of record:

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